                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:11-cr-75

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                           AMENDED ORDER1
                                         )
XIOMARA AMPARO (2)                       )
________________________________________ )


       THIS MATTER is before the Court on its own motion, the government’s Motion for

Reconsideration, (Doc. No. 174), and the defendant’s Response, (Doc. No. 175).

       The government argues because a co-defendant has absconded from supervision prior to

reporting to the Bureau of Prisons (BOP), that the defendant is also a risk to flee without serving

her sentence. While the Court does not base its decision on that circumstance, other information

shows that the need for the defendant to travel no longer exists. On May 23, 2012, the Court

granted, (Doc. No. 173: Order), the defendant permission to travel to the Dominican Republic for

up to 10 days to attend the funeral of her father, who passed away on May 21, 2012 (Doc. No.

170: Motion at Exhibit 1). The defendant had to obtain a duplicate passport and as of the date of

this Order, has not left the country. According to the United States Probation Office (USPO), her

father has since been interred. Therefore, the need to travel no longer exists.

       IT IS, THEREFORE, ORDERED that the government’s Motion for Reconsideration,

(Doc. No. 174), is GRANTED and the permission to travel to the Dominican Republic is

REVOKED. The defendant shall immediately surrender her passport to the USPO and abide by

all previously ordered bond conditions, (Doc. No. 33: Order Setting Conditions of Release).


       1
         The original Order, (Doc. No. 177), is amended to correct a typographical mistake in
the second sentence of the second paragraph.


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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                  Signed: June 1, 2012




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